
Justice BRADY concurring.
A prosecutor's representations to a court or trier of fact should be accurate, trustworthy, and based upon a good faith understanding of the law and facts of a particular case. I write separately to emphasize the special responsibility of North Carolina prosecutors to promote justice and fair play in thecriminal courts. I believe that portions of the prosecutor's closing argument in this case misrepresented the law and practice in North Carolina and were misleading to the jury. Notwithstanding this specific concern, I agree with the majority that defendant's trial and capital sentencing proceeding were free from prejudicial error.
Responsibility is an essential and unavoidable counterpart to authority. It is axiomatic that "[f]rom everyone to whom much has been given, much will be required; and from the one to whom much has been entrusted, even more will be demanded." Luke 12:48 (New Revised Standard Version). As I have noted in the past, North Carolina's district attorneys are vested with broad authority and discretion to try criminal actions in superior and district court. See N.C. Const. art. IV, § 18. "The district attorney decides who shall be initially charged, drafts criminal indictments for submission to the grand jury, prepares informations, decides which cases are ripe for dismissal, negotiates pleas (and does so in a majority of cases), and most recently, was given the statutory authority to decide which first-degree homicide cases warrant capital prosecution, N.C.G.S. § 15A-2004 (2002)." State v. Spivey, 357 N.C. 114, 129-30, 579 S.E.2d 251, 261 (2003) (Brady, J., dissenting). District attorneys, therefore, are entrusted by the State with unique authority in the criminal courts and possess a coordinate responsibility to exercise that authority with care.
District attorneys who neglects these responsibilities "risks inviting the legislature to scrutinize . . . and perhaps diminish" their authority. State v. Mitchell, 298 N.C. 549, 554, 259 S.E.2d 254, 257 (1979) (Carlton, J., concurring). Considerthe recent legislative reformation which diminished North Carolina district attorneys' calendaring power. Until 1 January 2000, district attorneys enjoyed complete functional control over criminal court dockets. The district attorney decided which cases to set for trial and announced on the morning of court the order in which cases remaining on the calendar would be heard. N.C.G.S. § 7A-49.3 (a), (a1) (1995). North Carolina was singular among the fifty states in granting this degree of control over criminal dockets to district attorneys. John Rubin, 1999 Legislation Affecting Criminal Law and Procedure, in Administration of Just. Bull. (Inst. Of Gov't, Chapel Hill, N.C., No. 99/05), Oct. 1999 at 9; Affiliate News, in 23 Champion No. 10 (Nat'l Ass'n of Crim. Def. Lawyers, Washington, D.C.), Dec. 1999, at 17, 70.
However, in recent decades, judges and members of the bar began expressing concern over perceived questionable calendaring practices of some district attorneys. See generally, Simeon v. Hardin, 339 N.C. 358, 451 S.E.2d 858 (1994); Shirley v. North Carolina, 528 F.2d 819 (4th Cir. 1975); N.C. Bar Ass'n Found. Admin. of Justice Study Comm., Case Docketing and Calendaring and Rotation of North Carolina Superior Court Judges, Final Report 54-65 (Final Report, Aug. 1978). In 1999, the General Assembly responded, repealing N.C.G.S. § 7A-49.3 and enacting N.C.G.S. § 7A-49.4 in its place. Act of July 15, 1999, ch. 428 secs. 1,2 1999 N.C. Sess. Laws 1722, 1722-1724. Section 7A-49.4 limits the authority of district attorneys and sets firm rules for the calendaring of criminal cases.
Presently, an administrative setting must be calendared in every felony case "within 60 days of [a defendant's]indictment or service of notice of indictment." N.C.G.S. § 7A-49.4(b) (2005). At that setting the trial judge must set administrative deadlines for discovery, arraignment, and motions. Id. If the parties do not agree on a trial date before the final administrative setting, the district attorney must propose a date at that time. Id. Additionally, the district attorney must publish the trial calendar at least ten working days before cases on the calendar are set for trial, and the calendar must list cases in the anticipated order that they will be tried. N.C.G.S. § 7A-49.4 (e) (2005). Section 7A-49.4(e) also cautions that the calendar "should not contain cases that the district attorney does not reasonably expect to be called for trial." Id. This response by the General Assembly is a signal to district attorneys in North Carolina that conduct which invites criticism of the criminal justice system or of the legal profession should be "zealously guard[ed] against." Mitchell, 298 N.C. at 554, 259 S.E.2d at 257 (Carlton, J., concurring).
Here, during defendant's 1999 capital sentencing proceeding, the prosecutor told the jury that "[t]he only way that you can be sure that [defendant] will never kill again, walk out again is to give him the death penalty." (Emphasis added.) This statement was inaccurate, misleading, and unfounded in law. Criminal defendants who are convicted of first-degree murder do not "walk out" of the North Carolina Department of Correction, absent an unlikely pardon by the Governor.
In North Carolina, a defendant who is sentenced to life imprisonment remains confined to prison until the expiration of his natural life with no opportunity for parole. N.C.G.S. § 15A-2002 (2003). In fact, in 1998, the General Assembly repealedN.C.G.S. § 15A-1380.5, which had provided biennial review of a defendant's life sentence by a superior court judge after the defendant had served twenty-five years of imprisonment. Current Operations Appropriations and Capital Improvement Appropriations Act of 1998, ch. 212, sec. 19.4(q), 1998 N.C. Sess. Laws 937, 1232 (repealing Article 85B of Chapter 15A of the North Carolina General Statutes). Because North Carolina's General Statutes now require permanent imprisonment of criminal defendants who have been sentenced to life imprisonment without parole, the prosecutor's argument that jurors should recommend a death sentence to insure defendant never "walk[s] out" and harms another person was improper.
Moreover, I am unpersuaded by the State's recent assertion that the prosecutor's statement addressed defendant's ability to "walk out" of a prison cell and hurt another inmate. Immediately after asking jurors to "insure" that defendant would not "walk out again" by recommending a death sentence, the prosecutor stressed that jurors now had an opportunity to "'do something about violence'" and asked jurors, "'Why don't they do something about victim's rights?'" The prosecutor then told jurors that they were "the moral conscience of this community." After reviewing the transcript, I believe the prosecutor meant, and jurors understood, that defendant might "walk out" of prison into the community at large.
While I agree with the majority that defendant was not prejudiced by the prosecutor's improper argument, I encourage North Carolina prosecutors to heed the paramount responsibilities which accompany their authority. "A prosecutor has the responsibility of a minister of justice and not simply that of anadvocate; the prosecutor's duty is to seek justice, not merely to convict." Rev. R. Prof. Conduct N.C. St. B. 3.8 (Special Responsibilities of a Prosecutor) cmt. [1], 2005 Ann. R. N.C. 755-56. To that end, prosecutors must carefully guard the truth and accuracy of their statements within the criminal courts- especially statements to a jury. In this way, prosecutors may remain faithful stewards of their authority and "the most responsible officer[s] of the court . . . 'its right arm.'" State v. McAfee, 189 N.C. 320, 321, 127 S.E. 204, 205 (1925).
